
McKinney, J.,
delivered the opinion of the Court.
The first and principal exception to the regularity of the proceedings is in permitting the deposition of C. H. Black to be read as evidence to the jury; the ground of the exception is, that Black was present in Court at the time. It seems that Black was a resident of the county in which the suit was pending, and his deposition was taken some time preceding the trial, on behalf of the plaintiff, Officer ; and the defendant, without any objection on his part, cross-examined.
The deposition, we infer, was taken in pursuance of sec. 3837 of the Code, which provides that the deposition of any person residing in the county in which the suit is pending, may be taken by either party; but secures to the opposite party the right to summon the witness, whose deposition may be thus taken, and, in effect, to cross-examine him as the witness of the party taking his deposition.
*568This section of the Code introduces a change of the law, as regards taking the depositions of persons residing in the county in which the suit may be pending ; formerly, the depositions of witnesses living in the county could not be taken generally, but only in special eases upon cause shown.
Inasmuch, then, as the deposition was regularly taken, was it any ground of objection to its being read, that the witness happened to be present in Court at the time of the trial ? Certainly not. The deposition was admissible evidence ; and although-the party might have been permitted, in the discretion of the Court, to have passed by th'e deposition, and to examine the witness on the trial, yet he could not be required to do so. If the opposite party desired a fuller examination, this right is secured to him, without prejudice, as he may do so, treating the witness not as his own, but as the witness of the party taking the deposition.
There is nothing in the other ground insisted on to justify us in disturbing the judgment. It is true, some suspicions may be entertained of the good faith of Officer, in taking up the slave ; but this matter was left to the jury, under proper instructions, and it cannot be said that there is no evidence to support the verdict. Judgment affirmed.
